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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 21-81417-CV-MIDDLEBROOKS/Matthewman

  LAWRENCE YORE, as the Personal
  Representative for the Estate of Rebeca Yore,

         Plaintiff,
  v.

  GVDB OPERATIONS, LLC, and
  JSMGV MANAGEMENT COMPANY, LLC,

        Defendant.
  ______________________________________/

                            ORDER GRANTING MOTION TO STAY

         THIS CAUSE comes before the Court upon Defendants’ Unopposed Renewed Motion to

  Stay Pending Appeal of Nearly Identical Lawsuit, Schleider, et al. v. GVDB Operations, LLC, filed

  on August 20, 2021. (DE 5).

         Defendant seeks a stay of this matter pending the Eleventh Circuit’s resolution of Schleider

  v. GVDB Operations, LLC, 11th Cir. No. 21-11765 (May 24, 2021), which presents the same

  jurisdictional issues related to federal question jurisdiction and preemption under the Public

  Readiness and Emergency Preparedness (“PREP”) Act, 42 U.S.C. §§ 247d-6d, 247d-6e, as raised

  by Defendant’s Notice of Removal.

         Given that Schleider, like the instant matter, raises jurisdictional issues of first impression

  in this Circuit, in the interest of judicial economy, it is ORDERED AND ADJUDGED that:

         (1)     Defendant’s Unopposed Renewed Motion to Stay Pending Appeal of Nearly

                 Identical Lawsuit, Schleider, et al. v. GVDB Operations, LLC (DE 5) is

                 GRANTED.

         (2)     This case is STAYED.
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       (3)   In light of the recent appeal, filed May 24, 2021, the Clerk of Court shall

             ADMINISTRATIVELY CLOSE this case and DENY AS MOOT all pending

             motions.

       (4)   Either party may move to lift the stay upon the Eleventh Circuit’s decision in

             Schleider. Any motion to lift the stay must be filed within seven days of the

             Eleventh’s Circuit’s ruling.

       (5)   If the Parties resolve this matter prior to resolution of the Schleider appeal, they

             shall promptly file a Notice of Settlement into the court record.

       SIGNED in Chambers at West Palm Beach, Florida, this 24th day of August, 2021.




                                                           Donald M. Middlebrooks
                                                           United States District Judge




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